Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1068 Page 1 of 44



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  9 Rancho Santa Fe, CA 92067
    Telephone: (858) 759-9930
 10 Facsimile: (858) 759-9938
  11
 12
                       UNITED STATES DISTRICT COURT
  13                SOUTHERN DISTRICT OF CALIFORNIA
 14
  15 ELIZABETH MIRABELLI, an                  Case No.: 3:23-cv-0768-BEN-WVG
 16 individual, and LORI ANN WEST, an
    individual,                               Third Notice of Supplemental
 17                                           Authority in Support of Plaintiffs’
                  Plaintiffs,                 Motion for a Preliminary Injunction,
 18
           v.                                 and in Opposition to the Motions to
 19                                           Dismiss
 20 MARK OLSON, in his official capacity as   Judge:             Hon. Roger T. Benitez
    President of the EUSD Board of
 21 Education, et al.,                        Courtroom:         5A
                                              Hearing Date:      August 30, 2023
 22              Defendants.
                                              Hearing Time:      10:00 a.m.
 23
 24
 25
 26
 27
 28

                 Third Notice of Supp. Authority ISO Plaintiffs’
            Motion for a Prelim. Inj. & Opposing the Motions to Dismiss
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1069 Page 2 of 44



   1             THIRD NOTICE OF SUPPLEMENTAL AUTHORITY
  2         Plaintiffs Elizabeth Mirabelli and Lori Ann West bring to this Court’s attention
   3 supplemental authority in support of their motion for a preliminary injunction (ECF
  4 No. 5) and their opposition to the motions to dismiss (ECF Nos. 17 & 25).
   5        I.      People of the State of California v. Chino Valley Unified School
   6                District, No. CIVSB2317301 (Cal. Super. Ct., Sep. 6, 2023)
   7        On September 6, 2023, San Bernardino County Superior Court Judge Thomas
  8 S. Garza issued a temporary restraining order, in an action brought by California
   9 Attorney General Rob Bonta, precluding the Chino Valley Unified School District
 10 from implementing a Board Policy that notifies parents if their children request to be
  11 treated as a gender incongruent with their sex, or request to use opposite-sex
 12 facilities. See Ex. A. With respect to the TRO itself, the trial court signed California’s
  13 proposed order without substantive modification. Id. However, the corresponding
 14 Minute Order notes that “[f]indings stated on the record by the Court.” See Ex. B.
  15 Thus, Plaintiffs also submit the transcript of the hearing. See Ex. C at pp.12:21-14:11,
  16 27:19-29:20. The Order to Show Cause hearing on a preliminary injunction is set for
  17 Friday, October 13, 2023.
 18         The Superior Court’s order, of course, has no precedential value. See 9 Bernard
  19 E. Witkin, California Procedure § 507 (6th ed. 2023). This is especially the case with
 20 respect to a temporary restraining order, which is not a merits-based adjudication.
 21 Compare Ex. C at pp.27:25-26, 29:10-11 (Judge Garza: “Based on what is before me at
 22 this time,” and “out of an abundance of caution, I’m going to grant the TRO”); with
 23 Landmark Holding Grp., Inc. v. Superior Ct., 193 Cal. App. 3d 525, 528 (1987) (“All
 24 that is determined is whether the TRO is necessary to maintain the status quo pending
 25 the noticed hearing on the application for preliminary injunction.”).
 26         However, the fact that the State of California sought and obtained a temporary
 27 restraining order against a school district in this context establishes: (1) that, contrary
 28 to their position in this case, they are effectively enforcing their “non-binding”
                                               2
                      Third Notice of Supp. Authority ISO Plaintiffs’
                 Motion for a Prelim. Inj. & Opposing the Motions to Dismiss
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1070 Page 3 of 44



   1 guidance; and (2) that the CDE Defendants are therefore necessary parties in this
  2 action. See, e.g., ECF No. 28 at § III, pp.13-20 (discussing how CDE has withheld
  3 funding on unilateral determination that school districts were violating gender
  4 identity anti-discrimination laws); ECF No. 36 at Ex. D, p.42 (with respect to Chino
  5 Valley Unified School District, CDE stating: “We will be working closely with the
  6 State Attorney General’s office to verify and enforce California law.”).
  7
  8                                        Respectfully submitted,
  9                                        LiMANDRI & JONNA LLP
 10
       Dated: September 11, 2023     By:   ____________________
  11                                       Charles S. LiMandri
 12                                        Paul M. Jonna
                                           Mark D. Myers
  13                                       Jeffrey M. Trissell
 14                                        Milan L. Brandon II
                                           Attorneys for Plaintiffs
  15
  16
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                                            3
                   Third Notice of Supp. Authority ISO Plaintiffs’
              Motion for a Prelim. Inj. & Opposing the Motions to Dismiss
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1071 Page 4 of 44




                                                          EXHIBIT A
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1072 Page 5 of 44

                                 I
                                 "-"'                                                     "-·



            Rem BONTA                                                           Fee: Exempt P11rs11a11t to Go,·em111C'11I
            Attorney General of California                                      Cocle § 6103
       2    MICHAEL L. NEWMAN
            Senior Assistant Attorney General
       3    LAURAL. FAER (SBN 233846)                                                                FILC':D
            JAMES F. ZAHRADKA II (SBN 196822)                                        SUPERIOR C~T OF CALIF01'NIA
                                                                                      COUNTY OF SAN BERNARDINO
       4    Supervising Deputy Attorneys General                                       ~AN f\ERNAROINO DISTR IC T
            EowARD NUGENT (SBN 330479)
       5    GARY D. R OWE (SBN 165453)                                                              SEP o6 2023
            A LEX ANDER SIMPSON (SBN 235533)
       6    XtYUNYANG(SBN315187)
       7
            DELBERT TRAN (SBN 323993)
            Deputy Attorneys General                                               GY - -                  J®J
                                                                                         r;i:-_a_RA..J....P~E-=o-=Ros~A=-.';::D";:'.EP;:::IJTY~
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            Attorneysfor Thc People of the State of Cali fo rnia
      10
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
      11
                                                 COUNTY OF SAN BERNARDINO
      12
      13
                                                                                     CIV SB 2317301
      14    THEPEOPLEOFTHESTATEOF                                         Case No.
            CALIFORNJA, EX REL. ROB BONT A,
      15    ATTORNEY GENERAL OF THE STATE                                    - - - ,_I TEIV1PORARY
            OF CALIFORNIA,                                                RESTRAINING ORDER; (MIU~P8 SE6t
      16                                                                  ORDER TO SHOW CAUSE RE :
                                                            Plainti !T,   PRELIMINARY INJUNCTION;
      17                                                                  1PROP05ED I ORDER GRANTING
                           \'.                                            APPLICATION TO SEAL OR REDACT
       18                                                                 DEC LARATIONS AND LEAVE TO FILE
                                                                          DEC LARATION UNDER PSEUDONYM
      19    CHINO VALLEY UNIFIED SCHOOL
            DISTRICT,
      20                                                               Date: l1 / & / i.o i... 1
                                                         De: fondant.  T ime: 'ef' • 3c.; ,,. ·"" ·
      21                                                               Dcpt: !:.:.l 7
                                                                       Judge: 1--fv"' '"Ir t1 )"' <· r [;-.>..,,-           'c.
      22
            ____________________________                               Trial Date:
                                                                   __, Action Filed: <{1-z ti 2 o'2.3
      23
      24
                    Based upon the Court's review o f the Peop le of the State of Cal ifornia's Ex Parte
      25
            Application for T emporary Restraining Order and Order to Show Cnuse re: Preliminary
      26
            Injunction; the Memorandum o f Point s and Autho rities in Support of Ex Parte Application for
      27
            Temporary Restraining Order (TRO) and Order to Show Cause (OSC) re Preliminary injunction;
      28

                                        IProposed] TRO: fPropos.:d I OSC rl': Prelim. lnj.: I Propnsed I Order Gr.1nting App. lU Seal
         Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1073 Page 6 of 44
- --- -----·---- -




                 the Request for Judicial Notice in Support of the Ex Parte Application for TRO and OSC re

             2   Preliminary Injunction; the Memorandum of Points and Authorities in Support of Application to

             3   Seal or Redact Declarations; the accompanying declarations and exhibits: and upon sufficient

             4   cause being shown thereby, the Court hereby FINDS and ORDERS as follows:

             5                                TEMPORARY RESTRAINING ORDER

             6            The Court finds Plaintiff~ the People of the State of California, has demonstrated a

             7   likelihood that it will prevail on the merits of its Complaint, and that the relative balance of harms

             8   to both Plaintiff and Defendant require the Court to issue interim relief pending the dctennination

             9   of the Order to Show Cause as to Why a Preliminary Injunction Should Not Issue Against

            10   Defendant.
            11            It is FURTHER ORDERED thal, pending the hearing on the Order to Show Cause re:

            12   Preliminary Injunction, Defendant and its agents, employees. assigns, and all persons acting in

            l3   concert with it are restrained and enjoined from adopting, implementing. enforcing. or otherwise

            14   giving effect to: (I) CVUSD Board Policy 5020. 1, subdi visions I .(a) and (b) of the Policy in full ;

            15   (2) subdivision l .(c) of the Policy, insofar as it applies to transgender or gender nonconforming

            16   students' requests to change the ir name. pronouns. sex or gender on unollicial records; and (3)

            I7   subdivis ion 5 of the Policy, insofar as it applies to transgendcr or gender nonconforming students

            18   (a) requesting to be treated as a gender other than the student's biological sex or gender listed on

            19   the student's birth certificate or any other o fficial records; or (b) accessing sex -segregated school

            20   programs or acti vities that do not align with the student 's biological sex or gender listed on the

            21   student's birth ccrtifa:ate or any other oftic ial records.

            22
                                                                            SO ORDERED.
            23

            24   Dated:                                                        /c,"'---~
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                                                                            ~Thnmu.        Gam.
                                                                            San Bt:tM!Ydlm> :saµenor Co\u1

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                                         [Proposed! TRO; [Propn,cdj OSC re: Prelim. Inj.: [Proposed] Orckr Granring App. ro Se;il
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1074 Page 7 of 44




                                                 ORDER TO SHOW CAUSE

       2            It is hereby ORDERED that Defendant Chino Valley Uni fied School District (CVUSD)

       3   is ordered to show cause in wri1ing 0fl er bcfot c Supnm:ibsa:::::::3 JQlii!, as to why a preliminary

       4   injunction should not issue restraining and enjoining Defendant and its agents. employees,

       5   assigns, and all persons acting in.concert with it from adopting, implementing. enforcing. or

       6   otherwise giving effect to: (I) CVUSD Board Policy 5020. 1, subdivisions 1.(a) and (b) of the

       7   Policy in foll; (2) subdivision I .(c) of the Policy, insofar as it applies to transgender or gender

       8   nonconforming students' requests to change their name. pronouns, sex or gender on unofficial

       9   records; and (3) subdivisio n 5 of the Policy, insofar as it applies to transgcnder or gender

      JO   nonconforming students (a} requesting to be treated as a gender other than the student's biological

      11   sex or gender listed on the student's birth certificate or any other official records; or (b) accessing

      12   sex-segregated schoo l programs or activ ities that do not alig n with the stuJcnt·s bio logical sex or

      13   gender listed on. the student 's birth cert ificate or any ot h~CC~~jjl n:c~ds\orJ'Jl (~...es               .
      14            Detendant is to file any papers in opposition A6f later        tban~                            , ~6'!3'.

      15
                                                                           aCCDltl.it''tOL ·fo
           The Attorney General is to file any reply papers not l.,te1 tli1111           · <f
                                                                                                    ruai:P f',llPS
                                                                                                              :~ .
                                                                                                                   ·
      16   Hearing on the Order to Show Cause re: Preliminary Injunction is here by set li:n

      17   ~cfbt?-fr       \'? .2023. in Depa1tment 52].
      18
                                                                        SO ORDERED.
      19

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      2I
           Dated:   '{I '2 fu
                       r     I
                                                                        San Bcrnarc mo Superior ourt
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                                                                  J
                                  [ P ropc~cd l TRO: [ Proposed) OSC re: l'rcl irn. lnj .: [Proposed ] Onkr Granting App. to Seal
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1075 Page 8 of 44




             ORDER GRANTING APPLICATTON TO SEAL OR REDACT DECLARATIONS. AND

        2            GRANTING LEA VE TO FILE DECLARATION UN DER PSEUDONYM

        3         Having considered Pi'aintiffs Applicat ion to Sent or Redact Documents and to Submit

        4   Declarations Using Pseudon)mS, it is ORDERED that Plaintiffs Application is GRANTED: (I) the

        5   unrcdacted declarations of Chris R., Andrea McFarland, Gregory Crow, and Krist i Hirst shall be

        6   sealed; (2) the portions of the publicly filed versions of the declarations of Chris R., Andrea

        7   Mcfarland. Gn:gory Crow, and Kris ti Hirst describing minor students shall be redacted; and (3)

        8   Plaintiff may use a pseudonym to submit the Declaration of Chris R. (a minor) in support of the

        9   Attorney Genera r s Ex Parte Application for Temporary Restraining Order and Order to Show Cause

       10   Re: Preliminary Injunction.
       11                                                             SO ORDERED.

       12
            Dated:
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                                   tProposcd] TRO: [Proposed] OSC rl·: Prclim. lnj .; [Proposed] Order Gmnting App. to Seal
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1076 Page 9 of 44




                                                          EXHIBIT B
Case 3:23-cv-00768-BEN-WVG Document 40 Filed 09/11/23 PageID.1077 Page 10 of 44




                                        SUPERIOR COURT OF CALIFORNIA,
                                          COUNTY OF SAN BERNARDINO
                                             San Bernardino District
                                                 247 West 3rd St
                                            San Bernardino, CA 92415
                                                www.sb-court.org


                                        PORTAL MINUTE ORDER
  Case Number: CIVSB2317301                                                                               Date: 9/6/2023

  Case Title: The People of the State of California, Ex Rel. et al
              -v-
              Chino Valley Unified School District

                                                                                                    Ex Parte Hearing -
  Department S27 - SBJC                            Date: 9/6/2023            Time: 8:30 AM
                                                                                                    Predisposition

  Judicial Officer: Thomas S Garza
  Judicial Assistant: Debra Pedrosa
  Court Reporter: Charlona Quidor
  Court Attendant: Cesar Lepe

  Appearances
  Attorney Alexander Simpson, Attorney James F Zahradka II, Attorney Delbert K Tran present for Plaintiff Rob Bonta,
  The People of the State of California, Ex Rel.
  Attorney Anthony P De Marco, Attorney William A Diedrich present for Defendant Chino Valley Unified School District

  Proceedings
  Stip and appointment of pro tem reporter filed
  The People of the State of California, Ex Rel.'s Ex parte Application for temporary restraining order is heard.

  Court finds notice of the hearing on ex parte application was given to the opposing party.
  Ex parte application argued.

  Court Finds:
  The People of the State of California, Ex Rel.'s Ex parte Application for temporary restraining order is granted.
  Findings stated on the record by the Court.

  Order Filed Re: granting TRO; granting application to seal


  Hearings
  Order to Show Cause - Predisposition set for 10/13/2023 at 8:30 AM in Department S27 - SBJC
  Preliminary Injunction

  9:41 AM
                                              == Minute Order Complete ==
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                                                           EXHIBIT C
                               Hearing
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                                       Filed 09/11/23
                                 September 6, 2023

  1                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
  2                     FOR THE COUNTY OF SAN BERNARDINO
  3     DEPARTMENT S-27                 HONORABLE THOMAS S. GARZA, JUDGE
  4      PEOPLE OF THE STATE OF              )
         CALIFORNIA, EX REL. ROB BONTA,      )
  5      ATTORNEY GENERAL OF THE STATE OF    )
         CALIFORNIA                          )
  6                                          ) Case No. CIVSB2317301
                    Plaintiff,               )
  7                                          )
         -vs-                                )
  8                                          )
         CHINO VALLEY UNIFIED SCHOOL         )
  9      DISTRICT,                           )
                                             )
 10                 Defendant.               )
                                             )
 11
                    REPORTER'S TRANSCRIPT OF ORAL PROCEEDINGS
 12
                          WEDNESDAY, SEPTEMBER 6TH, 2023
 13
 14      APPEARANCES:
 15      FOR THE PLAINTIFF:                 OFFICE OF THE ATTORNEY GENERAL
                                            BY: DELBERT TRAN
 16                                         Deputy Attorney General
                                            455 Golden Gate Avenue
 17                                         Suite 11000
                                            San Francisco, CA 94102
 18
                                            OFFICE OF THE ATTORNEY GENERAL
 19                                         BY: ALEX SIMPSON
                                            Attorney at Law
 20                                         600 West Broadway
                                            Suite 1800
 21                                         San Diego, CA 92101
 22
         FOR THE DEFENDANT:                 ATKINSON & ANDELSON
 23                                         BY: TONY DE MARCO & WILLIAM
                                            DIEDRICH
 24                                         Attorneys at Law
 25
 26

                                                                  Page 1

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                               Hearing
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                                       Filed 09/11/23
                                 September 6, 2023

  1         SAN BERNARDINO, CALIFORNIA; WEDNESDAY, SEPTEMBER 6TH, 2023

  2                                    MORNING SESSION

  3      DEPARTMENT S-27                            HON. THOMAS S. GARZA, JUDGE

  4      APPEARANCES:

  5                     (DELBERT TRAN, Deputy Attorney General,

  6                     representing the Plaintiffs; ALEX

  7                     SIMPSON, Attorney at Law, representing

  8                     the Plaintiffs; TONY DE MARCO, Attorney

  9                     at Law, representing the Defendants;

 10                     WILLIAM DIEDRICH, Attorney at Law,

 11                     representing the Defendants.)

 12                     (Charlona Quidor, Court Reporter, C.S.R.

 13                     No. 13426.)

 14

 15               THE COURT:     People of the State of California versus

 16      Chino Valley Unified School District.           Appearances please.

 17               MR. TRAN:     Good morning.      Deputy Attorney General

 18      Delbert Tran on behalf of the People of the State of

 19      California.

 20               THE COURT:     Good morning, Mr. Tran.

 21               MR. SIMPSON:        Alex Simpson on behalf of the People of

 22      the State of California.

 23               THE COURT:     Good morning, Mr. Simpson.

 24               MR. DE MARCO:        Tony De Marco of Atkinson and Andelson

 25      on behalf of Chino Valley Unified School District.

 26               THE COURT:     Good morning, Mr. De Marco.

                                                                       Page 2

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                                 September 6, 2023

  1               MR. DIEDRICH:    William Diedrich of Atkinson and

  2      Andelson on behalf of Chino Valley Unified School District.

  3               THE COURT:   Mr. Diedrich, good morning to you.

  4      Gentleman, if you wanted you're welcome to be seated.         I don't

  5      intend to go too long with it.      In any event, Mr. De Marco,

  6      Mr. Diedrich, as you may know, the plaintiff in this matter,

  7      the People of the State of California have filed an ex-party

  8      for relief seeking an injunction specifically as it relates to

  9      Chino Valley Unified School District's policy 5020.1 regarding

 10      disclosures on behalf of its students, and fortunately notice

 11      was given as we have both of you gentleman here.         And I have a

 12      nice phone book of an opposition to the plaintiff's ex-parte

 13      hearing as well as a reply I received, counsel, that both of

 14      which I have not fully read.      So I'll need you to help me in

 15      summarizing some of your positions.

 16            Continuing, in addition to the Court receiving this

 17      request for ex-parte relief in the form of a temporary

 18      restraining order and hopes of a preliminary injunction as well

 19      as the complaint reflects some declaratory relief with respect

 20      to this case.   The Court has also received, and hopefully

 21      Mr. Diedrich and you Mr. De Marco have received plaintiff's

 22      request for judicial notice and the declarations attended with

 23      their motion together with this request for sealing or

 24      confidentiality with respect to the case.         So all of those

 25      issues are before the Court as well.        Understanding where we

 26      are at this point the Court with respect to a temporary

                                                                     Page 3

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                               Hearing
Case 3:23-cv-00768-BEN-WVG Document 40Department S27 PageID.1082 Page 15 of 44
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                                 September 6, 2023

  1      restraining order would be balancing the interest of both

  2      parties and concern with the interest on behalf of each party

  3      and what harm if any might be visited upon a granting of a

  4      temporary restraining order.      With respect to the probability

  5      of success, which is another meter of granting temporary

  6      restraining orders based on what has been presented to the

  7      Court thus far within the form of legal authority.           And I would

  8      refer the parties to the following:        The Court has been

  9      referenced in accordance with the complaint.           The California

 10      Constitution specifically Article I Section 7, regarding equal

 11      protection; Article I section 1, addressing rights of privacy;

 12      Government Code Section 11135, regarding discrimination; and

 13      Education Code Section 200 as well as 201, regarding the rights

 14      of students in public schools.      Based on that understanding

 15      that as far as I know at this point, there's no contention that

 16      education is a fundamental right in California that hopefully

 17      both parties are in agreement that they would want and seek

 18      what is in the best interest of the students, and in that

 19      respect would wish to avoid unsafe environments of

 20      discrimination, abuse, and both physical as well as mental

 21      harassment.

 22            What this policy is as the Court understands it, appears

 23      to intend is to have a mandatory duty on behalf of the Chino

 24      Unified School District's teachers to disclose to the students'

 25      parents whether or not in school the students identify

 26      themselves differently than what their birth certificate may

                                                                       Page 4

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Case 3:23-cv-00768-BEN-WVG Document 40Department S27 PageID.1083 Page 16 of 44
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                                 September 6, 2023

  1      disclose in terms of their gender or their gender identity.            In

  2      that regard, that is where again the declarations upheld by the

  3      Court with respect to what the plaintiff has provided in the

  4      form of both teachers' declarations, students who have used

  5      pseudo names for their protection and the concerns that while

  6      it appears abundantly clear parents, have very important rights

  7      on behalf of their children and safeguarding and protecting

  8      their children, but nonetheless, the students have rights as

  9      well.   And unfortunately, this is not a perfect world, and

 10      whether or not the family at home is aware of these students

 11      identifying as something different than what their birth

 12      certificate may disclose is the concern that whether there's

 13      simple disagreement or a lack of understanding at home.         It's

 14      more than that.   Where there's also a concern of actual

 15      physical violence for the parents as against some of their

 16      children that they don't agree with that disclosure of a

 17      change, and that's not even taking into account that what these

 18      students have to encounter realistically at school with

 19      bullying, which is an ongoing problem at many schools.         So

 20      having said that since I've been able to read the moving

 21      ex-parte, Mr. De Marco or Mr. Diedrich, what would you like the

 22      Court to know in particular?      I have not had the opportunity to

 23      get through all of your opposition.

 24                MR. DE MARCO:   Your Honor, I'm sure you're looking

 25      forward to it as well.    First of all, thank you for your

 26      deliberate review of the moving papers.         I would submit our

                                                                     Page 5

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                               Hearing
Case 3:23-cv-00768-BEN-WVG Document 40Department S27 PageID.1084 Page 17 of 44
                                       Filed 09/11/23
                                 September 6, 2023

  1      opposition is going to be educational as well.             It's a

  2      complicated case, and the state has from the onset of this case

  3      which was midweek last week been in a big hurry.             They wanted

  4      us to be in trial on this TRO last Thursday.             The district is

  5      requesting more time, a full hearing on the merits, a full

  6      presentation in his honor explaining in depth with expert

  7      testimony the critical role that not just teachers but

  8      professional educators in general have in ensuring a safe

  9      environment for students to push reset a little bit because the

 10      moving papers in my humble opinion are a little bit off base

 11      starting with the premise that parents are most likely going to

 12      be harming students.      I think that's not where -- a place to

 13      start.     We're talking about students, your Honor, not just

 14      adults which some students are 18 and over, up to 21 years

 15      depending on the services provided.          We're talking about

 16      children who could be 4-and-a-half or 5 years old.             There's a

 17      range from TK through 12th grade that this school district

 18      serves, and the plaintiff the estate in this case is alleging

 19      that there's a blanket right to privacy that applies equally

 20      from age 4-and-a-half or 5 all the way to 12th grade.               And the

 21      district respectfully disagrees.

 22               The professional educators of Chino Unified really only

 23      have one mission, and that is to benefit the educational

 24      environment of their students.        Safety is a priority.         A warm

 25      and nurturing environment is a priority, and parents are part

 26      of that educational community.        When asserting this blanket

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  1      right to privacy that 4-and-a-half-year-olds, 5-years-olds all

  2      the way through 12th graders might have, the state forgets one

  3      compelling government interest which is making sure that

  4      parents' rights are also respected.         There's interveners in

  5      this case who I think are also filing documentation that

  6      explains the role of parents, but from the view of an educator,

  7      it's a team.    It's not separate and apart.

  8              When you read the legislative intent behind parents'

  9      rights, we go into detail in our brief, your Honor.            You'll

 10      read that parents are fundamentally part of the education team,

 11      and we're dealing with not private information anymore.            When

 12      you read where policy 5020.1, mere conversations are not going

 13      to trigger parent notification.        A student who goes to a

 14      teacher and says I'm confused about my body.            I don't feel

 15      comfortable with my body.      I might want to go by a different

 16      name, change my pronouns.      That doesn't trigger a parent

 17      notification.    Instead, it's only when that student says I want

 18      to change my name.    I want everybody to call me by my chosen

 19      name.    I want it to be perhaps bullying, an impairment of my

 20      educational environment, if anyone uses my dead name which is

 21      referred to by the name assigned by the parents.            They have

 22      that right under state law, and we have to follow that.            When a

 23      student says, I want access to segregated athletics.            I was

 24      born as a boy; I identify as a girl.         I want to be on the

 25      girls' volleyball team.     The state through the school district

 26      has to follow that direction, and it's only when there's these

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  1      public over actions by the student that the parent notification

  2      policy is triggered.

  3            So in our brief, we go into detail about how many people

  4      have to know about this transition in order for it to go well.

  5      Teachers and other staff have to know.         Parent volunteers in

  6      the classroom on a regular basis, and it is regular.               They have

  7      to know.   Office staff have to know.       The district has a

  8      dedicated coordinator who still assists with transition plans.

  9      She's got a declaration in our responsive pleadings so many

 10      people have to know all the way to the bus driver who has to

 11      insure this safe learning environment for children.               Everybody

 12      has to know about the gender transition, yet the state is going

 13      to take the position that there is a blanket right to privacy

 14      under the California Constitution.       Everybody in that school

 15      community will know about this social transition except for the

 16      parents if the state prevails on this TRO.             From the

 17      perspective of professional educators, we need those parents.

 18      We need those parents to be part of a successful transition.

 19      We quote studies and law review articles on points.               They're

 20      worth the full read, your Honor.       There's an incredible amount

 21      of new law, new social science out there that's informing the

 22      professional educators on how to do their job, and the experts

 23      agree that parents need to be involved.

 24            So hypothetically, if a student is transitioning and

 25      says, I want to use the girls' locker room or the boys' locker

 26      room, depending on the situation, I want a different name to be

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  1      used.     I want your protections.      I want to socially transition.

  2      I want a safe learning environment.          Under the parent

  3      notification policy, a professional educator, most likely the

  4      principle is going to call that parent and have a conversation

  5      with that parent and learn from that parent.               Is the parent

  6      supportive?     Does the parent already know?            Is there potential

  7      for harm or abuse in the school or in the home rather, and

  8      they're going to work with that parent to incorporate them into

  9      the social transition just like science says that they should.

 10      In the event that the student expresses, I don't want you to

 11      tell my dad.     He'll kill me.     This happens in the school

 12      setting.     There's a mandated reporter requirement for all

 13      school district staff.      If you form a reasonable belief of harm

 14      or neglect within a home, you're required by law to report

 15      that.     It's in the Penal Code.     It's a misdemeanor not to do

 16      it.     It's a crime not to make that report.

 17               The district has been very clear.        If there is a report

 18      made because of a reasonable belief of abuse or neglect,

 19      there's no parent notification.         The district has been clear

 20      that if the information provided by the student is within a

 21      counseling session, and the student's age 12 or older, there's

 22      a counseling privilege in the education code.               That information

 23      would not trigger a parent notification so when we get to the

 24      competing rights that you referenced, your Honor, and you're

 25      right on.     And this is exceedingly complicated.            The Fifth

 26      Circuit is the only federal court that I've seen confronted

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  1      head on.    It was in a 1983 case, section 1983 case, and the

  2      Court says, when you're out publicly, you don't have that right

  3      to privacy that you're claiming.         This wasn't confidential

  4      information anymore.      It was public.      So when the school

  5      district in that case told the parents about the sexual

  6      orientation of the student, it didn't trigger section 1983, but

  7      we have to get back to this balance.          This requires a

  8      legislative fix.     It's unfair for your Honor to be in this

  9      position.     It's unfair for the school district to be in this

 10      position, and candidly when you read some of the guidance from

 11      the State of California, it's not even fair to the California

 12      Department of Education.       A lot of this was triggered.        It's a

 13      wide revision to the policy.        Well, when state law education

 14      code was changed to allow students and require schools to

 15      recognize social transitions by using sex segregated

 16      facilities, changing names, et cetera, there was guidance that

 17      came out from the State of California.

 18            Now, that statute had nothing to do with privacy

 19      interest, yet in the guidance from the state, they put in there

 20      right in the middle sandwiched between other information that

 21      was addressed in the statutes that parents may not have the

 22      right to know because it may violate the constitutional rights

 23      to privacy.     When you take a deeper look at the law, your

 24      Honor, you're going to see.        It's all over the map, but the one

 25      thing that's obvious is there is no clear state law saying how

 26      it applies.

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  1            So getting back to federal and state laws requiring

  2      parent involvement, the state right now is arguing that parents

  3      have absolutely no right to this information even though it's

  4      public, everywhere on campus.      We're not talking about a small

  5      group of friends who will know about this.             We're not talking

  6      about a student and a medical service provider.             We're talking

  7      about the entire school community has to be put on notice about

  8      this social transition.     Use the chosen name of the student.

  9      Don't mis-gender or mis-pronoun the student.             Everybody has to

 10      know that or we risk a complaint for bullying, discrimination,

 11      et cetera.   If a parent under state law, if a parent comes to

 12      the campus and says I would like to look at the file for my

 13      child, state and federal law require the school district to

 14      comply with that request.     Within that file, if the student has

 15      changed their name or their pronouns, there's going to be

 16      records all over the place.      That's going to be in that

 17      student's cumulative file.     If a parent asks to go into a

 18      classroom, by law, state law, the parent has to be allowed into

 19      the classroom.   It's because the state legislature when

 20      actually probably promulgating a statute on point and said they

 21      have that right in the state of California of being in the

 22      classroom.   That means they're going to be in the classroom

 23      with their student using a chosen name and being referred to by

 24      their chosen pronouns.

 25            So what the state is actually arguing is the school safe

 26      guarantee that you refer to, the constitutional right to

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  1      privacy under the State Constitution can be overcome under

  2      their argument by state laws allowing parents in the classroom

  3      or state law allowing parents to review files.            If it is this

  4      bright line, constitutional rule that the state is arguing it

  5      is, then how can it be overcome by a parent's request to look

  6      at records?     The fact of the matter is parents have a

  7      fundamental right to be part of that education team, and in

  8      Chino Valley Unified -- and your Honor, there's other school

  9      districts adopting the same policy.

 10               In Chino Valley Unified, the board has said, yes, we

 11      agree with you that state guidance that was referred to that we

 12      based our old policy on, we now realize that it's just guidance

 13      and based on faulty premises.        We want to bring parents into

 14      the social transition.      So the moving papers by the state, they

 15      create this circular argument.        It's repeated in their reply

 16      brief.     I'm referring to their reply brief that I read this

 17      morning.     At page 7, they affirm that the state of California

 18      and by the way, the Chino Valley Unified School District is an

 19      arm of the state of California.         We have the same obligations

 20      the states refer to.      The district and the state have an

 21      obligation to protect the safety of students.            They call it in

 22      essence a compelling state interest, and they say it's

 23      discrimination for you to isolate transgender and

 24      gender-nonconforming students.        But those are the students

 25      we're trying to protect.       Those are the students we're trying

 26      to make sure parents know about.         We can't actually protect

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  1      them without identifying them.       We can't incorporate those

  2      parents, as the experts recommend, into the educational

  3      environment and let them know about the social transition and

  4      gauge whether there's a potential for harm in the house unless

  5      we talk to them.    It's this circular argument because they have

  6      really no evidence of discrimination.         If there was a

  7      discrimination complaint, there's an administrative process to

  8      investigate.   It's controlled by state law, and it can be

  9      appealed all the way to the state of California.           They have no

 10      evidence that parents are harming their students, Chino Valley

 11      students when they're at home.       There's simply no evidence of

 12      that, yet we're not allowed to talk about this with parents to

 13      figure out if there's evidence of it.         It's frustrating for the

 14      professional educators to be told they cannot incorporate

 15      students in this one little aspect of a major transition in

 16      that student's life.     I think I addressed everything that I

 17      intended to address, your Honor.        We just categorically reject

 18      the premise that because all parents are violent and are going

 19      to abuse their children, we shouldn't be able to talk to any

 20      parents without student consent.

 21               THE COURT:    Thank you, Mr. De Marco.         Before I hear

 22      from plaintiff, a couple of points I wanted to address briefly

 23      that you've raised, and I think it's a matter of perspective.

 24      Besides taking a different view of the same situation, I agree

 25      with you, first of all, that this really is a legislative

 26      matter that ultimately probably is going to have to be

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  1      addressed one way or the other if not through higher courts or

  2      as I've had it referred to another set of eyes of viewing

  3      whatever decision I make today.       Be that as it may.    The

  4      concern that I have in going back to some of the evidence that

  5      has been provided to the Court thus far is with respect to the

  6      July 20th, 2023 school board hearing, and in that regard,

  7      understanding that each individual certainly including parents

  8      and certainly including school board members have a right to

  9      their opinions.   The concern of the terms I saw used in

 10      reference to this policy are concerning to me.         For example,

 11      there was reference by the school board at the meeting that

 12      these students were under a delusion or suffering from a mental

 13      illness.   There is no empirical evidence that reflects or has

 14      been provided to the Court supporting that position for someone

 15      identifying themselves as something different.         That's a

 16      concern, and just taking the law that I have referred to that

 17      was provided in the plaintiff's complaint and applying what

 18      expressly reflects gender identity, transgender, all the

 19      different categories that we have with the LGBTQ categories

 20      that first, I don't know what the purpose of this policy is.

 21      That's not addressed.    I don't know why this policy came up to

 22      single out this class of individuals.        That's one concern.

 23      Also, what does this policy advance for the educational

 24      pursuits of its students?     You've referenced some safety

 25      issues, and I would agree with you not all parents are going to

 26      be violent with their kids if they disagree with them.            But as

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  1      you've referenced while there is a mandatory duty on behalf of

  2      educators to disclose if they observe first hand that students

  3      have been injured and that's a medical issue.              And clearly

  4      that's a problem.     Why do we have to go there to have there to

  5      be intervention?     You're asking for these kids to expose

  6      themselves and be at risk of physical and emotional harm before

  7      there's intervention, and that's a concern.              And finally how

  8      does this policy protect and safeguard the students?              That's

  9      not addressed, and that's a further concern.              So those are some

 10      thoughts I'll leave you with for now, Mr. De Marco.              Mr. Tran

 11      or Mr. Simpson, would you like to be heard?

 12               MR. TRAN:     Yes, your Honor.

 13               THE COURT:     Please go ahead.

 14               MR. TRAN:     This policy needs to be addressed now.              I

 15      think the district has argued that more time needs to be had to

 16      address the policy, but as your Honor understands, because

 17      there's an order to show cause for a preliminary

 18      injunction hearing that will give that full opportunity, the

 19      reason why a temporary restraining order should issue now is

 20      because the policy's forced disclosure provisions are already

 21      harming students and will continue to harm students with each

 22      day it remains in effect.

 23            As Your Honor understands from the ex-parte application

 24      materials, the declarations, and the evidences, students have

 25      already been outed under the policy.          One teacher has already

 26      testified that on August 4th a potential forced disclosure may

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  1      have already resulted in that mandatory reporting that your

  2      Honor just referenced that there may have already been physical

  3      harm caused by the policy, but in addition to the physical

  4      harms, there are two additional types of harm the policy

  5      causes.     It causes students to be afraid of the forced

  6      disclosure and withdraw and be unable to express themselves and

  7      their identity.     We appreciate the district's acknowledgment

  8      that it's important for students and the schools to participate

  9      in accomodation for these students, but the very effect of this

 10      policy, as one teacher put it, was to make them go underground.

 11      Multiple students have already reported that they are

 12      considering deleting all gender identity accommodations because

 13      they are afraid of the forced disclosure and even greater

 14      consequences they will receive from it so by its own terms, the

 15      district is undermining its intended aims to benefit these

 16      students.     And the third harm is the stigma, the discriminatory

 17      statements, and the effect of this policy.               In its text and its

 18      context, this policy singles out transgender students and them

 19      alone for this burden.

 20              Now, the district referenced other needs such as

 21      reporting bullying or affects that might injure students, but

 22      other neutral policies that the school has already addresses

 23      them.     Indeed within 5020.1, there are other provisions that

 24      address reporting for bullying more generally, and if that's

 25      the case, there's absolutely no need for this additional policy

 26      that singles out just this particular class of students.

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  1            Now one thing I want to emphasize is that in their

  2      opposition papers, this district does not contend the equal

  3      protection violations that the people have pointed out.           They

  4      cannot defend because there is no defense for the statements

  5      that the board made on July 20th, the statements that your

  6      Honor referenced where a board member called transgender

  7      identity a delusion or mental illness, but in addition

  8      statements by the board president calling policies protecting

  9      students things that pervert them or a statement by the board

 10      president saying that the policy was needed so that quote

 11      non-affirming action should be given to these students or the

 12      expressed statement of one board member who said that the

 13      purpose of the policy was quote to put a stop to

 14      transgenderism.     The board could not have made its intent

 15      anymore clear.    This is a discriminatory policy that targets an

 16      already marginalized group of students.

 17            Further, the district raised the concern that this policy

 18      is trying to benefit parents and actions of the school, but the

 19      district's arguments create a false dichotomy.           This is not a

 20      case about whether parents are informed or not informed.

 21      Before the creation of the policy, there were numerous ways for

 22      which policies and parents could be informed about their

 23      students' transgender identities in which schools could partner

 24      with the parents.     Before the existence of a policy, schools

 25      could disclose this information to parents with the students'

 26      consent.   Before the creation of the policy, schools could

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  1      disclose this information to the parents even if the student

  2      did not wish to do so if there was a compelling need to do so

  3      in order to protect the students' wellbeing.             Before the

  4      policy, students could bring this up to parents in the time and

  5      matter they chose.     Before this policy, school personnel could

  6      encourage students to bring this up with their parents in the

  7      timely manner they chose, and before the creation of this

  8      policy, schools create counseling and support services to allow

  9      students to have the tools to initiate these conversations.

 10            Indeed, Exhibit 5 of the request for judicial notice from

 11      the People's papers show the preexisting policy already

 12      provided support and counseling services for students who

 13      wanted to initiate these conversations with their parents.               And

 14      this policy was in effect for at least 6 years, and there was

 15      no evidence of any harm to any student under the many ways in

 16      which schools could partner with parents.           So this is a false

 17      dichotomy to claim that the People are somehow asserting

 18      absolute secrecy.     The previous policy already provided many

 19      ways for which students and parents could work together.

 20      `     Next, the district claims that there are limitations to

 21      forced disclosure provisions, but those limitations are

 22      contradicted by the clear text of those policies.             The district

 23      claims, for instance, that informal conversations or requests

 24      between the student and the teacher would not trigger mandatory

 25      discloser.   That's not what the policy says.            The policy says

 26      that forced disclosure is required when a school personnel

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  1      quote becomes aware that a student is requesting to be treated

  2      as a different gender identity; that includes informal

  3      conversations in the classroom.       No matter the district's

  4      representation, it's the rule of the policy and its text that

  5      will affect how teachers behave.       And as already mentioned

  6      before, it was already mentioned in these forced disclosures.

  7            Now, as the district claims, they have claimed an

  8      exception on their child abuse neglect reporting act, and as

  9      your Honor pointed out, that provides no protection.             It

 10      already exposes the student to that harm, and one student

 11      harmed is already one student too many.         We cannot wait to act

 12      after a fact when a disclosure has already resulted to

 13      potential violence, and we want to be clear.             The People agree

 14      that not all parents will harm their students.             But the sad

 15      evidence shows that some may, and we cannot gamble for the

 16      safety of our students.    As testified in the declaration of Dr.

 17      Christine Brady, a Stanford Clinical Psychologist, 1 in 10

 18      transgender individuals have experienced violence from

 19      immediate family members, and nearly 1 in 6 have been kicked

 20      out or forced to run away from their homes because they are

 21      transgender.   Only 37 percent of LGBT youth in California found

 22      their homes to be supportive environments.             As related studies

 23      show, individuals who experience paternal rejection because of

 24      their sexual orientation were 8 times more likely to have

 25      suicidal thoughts.   The evidence is clear that this policy

 26      exposes them to these great dangers, and that's a reality that

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  1      students have testified to.      A declaration from a current

  2      teacher pointed out that a student was afraid because a student

  3      pointed out that their parent has expressed hostility towards

  4      the LGBT community, had an aggressive personality.       In the

  5      students own words, they did not feel safe.

  6            Next, the district focuses on the privacy argument, but

  7      if your Honor reviews Supreme Court decisions in Hill as well

  8      as Lundgren, the Court's guidance there is very clear that

  9      minors have a fundamental right to their core identity.         As

 10      stated in Hill on page 30, the right to privacy protected in

 11      our constitution protects the ability for individuals to

 12      establish their identity.     It is the very being behind gender

 13      identity, the very ability to express who they are.

 14            Further, the district sites a Fifth Circuit case that is

 15      simply not persuasive.    It addresses only the 14th Amendment

 16      rights under the Federal Constitution, but as the California

 17      Supreme Court explained in Lundgren, the California

 18      Constitution goes further than the Federal Constitution in

 19      protecting privacy.   It's expressly protected, and it goes

 20      further than federal cases have.       The district also argues that

 21      there's no expectation of privacy because students are asking

 22      others at school to respect their gender identity, but as the

 23      case sited by the People have pointed out the fact that one may

 24      be public about one thing in one context does not render it a

 25      lack of privacy in all context.       As the US Supreme Court

 26      held in freedom of press as well as the California Supreme

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  1      Court held in Hill, in Hill, the Court emphasized that people

  2      play multiple social roles, and the right of privacy exists to

  3      protect exposure to even those closest to them.         So the courts

  4      have already addressed this issue, and they have already

  5      recognized that parents have a privacy right especially when it

  6      concerns something so important to them.

  7            Finally, the district claims that there is no evidence of

  8      discrimination, but as your Honor acknowledged, the evidence is

  9      clear in the record.    We have statements from before us.          We

 10      have the text of the policy, and we have the effects of that

 11      policy upon these students.      As one student explained, the

 12      effect of the policy is to shut them in the closet, forever

 13      afraid to express who they are, and that undermines all the

 14      goals the district claims they are seeking to achieve.         It

 15      undermines the ability to recognize and provide accommodations

 16      because students are no longer willing to be open about this.

 17      As a teacher testified, the students in his LGBT club used to

 18      be open about their identities.       They used to advocate for

 19      LGBT, and they no longer do so with the passage of these laws.

 20            I want to finally add that the district's reference to

 21      the studies do not support their claims.         The studies they

 22      refer to are actually the legislative findings on Education

 23      Code 51101 which is a statute generally required parental

 24      involvement in things like the student's progression in grades,

 25      whether or not they need to be held back because of their

 26      academic performance, and those studies only reference that

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  1      academic involvement and say nothing about the harms of forced

  2      disclosure due to gender identity.

  3            The board has simply provided no evidence to support this

  4      discriminatory policy, and the board's attempts to cast a

  5      benign interest behind it, simply fail under our constitutional

  6      scrutiny.     Under Connerly, the mere presentation of a benign

  7      interest is entitled to little or no weight.             There has to be

  8      evidence for it, and the school provided none.             The evidence

  9      here only shows harm to their students.           And for those reasons,

 10      the Court should issue a temporary restraining order and issue

 11      an order to show cause as to why preliminary injunction should

 12      not issue against the forced disclosure provision.

 13                  THE COURT:   Thank you, Mr. Tran, and before I hear

 14      further from Mr. De Marcos -- I'm sure he wishes to be heard,

 15      and we do need to move along.        As I mentioned, we have a jury

 16      trial that will be commencing before too long.             Mr. Tran,

 17      understanding that you've raised some compelling points, most

 18      of which the Court agrees with, yet as Mr. De Marco has pointed

 19      out, we do have this somewhat of a catch-22 if the students

 20      wish to be identified differently than perhaps their birth

 21      certificate or their early life may have reflected.             If there

 22      is truly this disclosure to all the different school personnel

 23      that Mr. De Marco referenced to, how is it that the students

 24      are going to be in a bubble so to speak on school campus and

 25      then change their identity once they go somewhere else in terms

 26      of the exposure?

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  1                  MR. TRAN:    Your Honor, as Dr. Brady testified, this is

  2      a natural process in a student's understanding of their gender

  3      identity where most students actually in fact do eventually

  4      disclose their identities to their parents at the ages around

  5      20, but they need this space to be able to explore their

  6      identity without the fear of reprisal that might happen, to be

  7      able to have the vocabulary to engage their families and to do

  8      so in terms of their own choosing.         If your Honor is asking

  9      specifically about the reasonable expectation of privacy

 10      required under Hill, again I think the Hill analysis looks at

 11      the circumstances, and the Court in Lundgren specifically

 12      rejected arguments that perhaps because parents might become

 13      aware in one or two contexts that the privacy right is

 14      overridden.     Here where the forced disclosure provision applies

 15      regardless of whether a student is open to everyone at school,

 16      regardless of whether they are open to one or two teachers at

 17      school.

 18                  THE COURT:    Therein lies another concern.      What

 19      oversight Mr. De Marco - And I'll let you make other points if

 20      you wish -- is there expected to be and safeguards that

 21      everyone is on board and is aware before there is contact to

 22      the parents?

 23                  MR. DE MARCO:    Did you want me to address that now or

 24      add that to the list?

 25                  THE COURT:    Add it to the list.      Anything else

 26      Mr. Tran?

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  1                MR. TRAN:    Yes, your Honor, we referenced the case, we

  2      cited the Hill case.      There is multiple roles.        There's

  3      paternal involvement in schools.       This is a case by case

  4      analysis often, and the policy before the enactment of the

  5      forced disclosure provision allowed for consideration of that.

  6      As your Honor will both see from the text and the previous

  7      policy in Exhibit 5, the request for judicial notice, that

  8      previous policy allowed for that individualized assessment,

  9      whereas the broad sweep of the policy here violates privacy as

 10      explained in Lundgren.

 11                THE COURT:    Very well.    Thank you.       Mr. De Marco,

 12      you're up.

 13                MR. DE MARCO:     Your Honor, this is not surprising to

 14      you.   I had some differences of opinion with Mr. Tran.             I'm

 15      going to need a minute.      I'll start where he left off.          The

 16      Hill case doesn't support the state.        It doesn't.      They want it

 17      to, but it doesn't.     And the Lundgren doesn't support the state

 18      either.   They want it to, but they don't support their case

 19      because those all deal with an individual trying to keep

 20      something private.     And our board policy only affects students

 21      that want official changes to their name and gender, to have

 22      access to sex-segregated facilities, to play in sex-segregated

 23      sports consistent with their gender identity.            There's nothing

 24      confidential about it.      You're isolating parents and saying

 25      you're the only people that are part of our education family

 26      that we're not going to tell about this.

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  1               THE COURT:    And aren't you presuming that all parents

  2      are oblivious?

  3               MR. DE MARCO:     Not at all, your Honor, not at all.            As

  4      a matter of fact, this is not in any declaration, but I would

  5      offer based on the information, there's been 15 instances so

  6      far this school year of students making the commitment to the

  7      social transition, telling administration at the school site

  8      that they want to make the social transition.           The

  9      administration provides the paternal notification required by

 10      5020.1, the district's coordinator for 5020.1 among other

 11      things, but Dr. Hunt gets involved in this process and

 12      standardizes it throughout the district so that every student

 13      speaking of the supports that exist, every student gets the

 14      supports of the district office.        So this is not delegated to

 15      school site staff to coordinate the entire transition plan.

 16      The interactive process occurs with the support of a district

 17      office educator.    That's her job.      That's the support center

 18      available.   So when the Hill case talks about the totality of

 19      the circumstances, the notorious actions and commitment of the

 20      student to socially transition have to be one of the

 21      circumstances that we take into account.          If this was a

 22      confidential communication and no action item, as we call them,

 23      was requested, nothing official -- I'm just talking about

 24      whether I am transgender or gender-nonconforming.             I'm not

 25      comitting to a social transition -- then that doesn't trigger

 26      the parent notification.      And we've been clear with staff.           If

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  1      you violate the parent notification policy, that could subject

  2      you to progressive intervention or progressive discipline it

  3      needs to be called, but progressive intervention.            So we're

  4      having the training and establishing safeguards in case staff

  5      does not follow the policy correctly.          I'm just reading from

  6      the brief, your Honor, but I know you haven't had the time to

  7      read yet.     This is our opposition.      The state did a very good

  8      job of quoting some of the data with respect to this one

  9      community within our school.        Transgender and

 10      gender-nonconforming students in particular suffer from

 11      psychological, emotional, and physical harassment and abuse.

 12      86 percent of transgender youth reported suicidal thoughts, and

 13      56 percent of transgender youth reported a previous suicide

 14      attempt, yet professional educators aren't allowed to tell

 15      parents about that.     Professional educators who are going

 16      through training and have for years on how to handle the most

 17      delicate communication.      We're talking about if your child gets

 18      raped in a school district.        That's kind of confidential.

 19      That's a major life activity that's affected you.            The

 20      professional educators communicate with parents.

 21               In respect to an abortion case, Lundgren, a very small

 22      group.     It wasn't notorious like we're talking about, but we're

 23      supposed to exclude the parents from the team that is supposed

 24      to protect the children.       There's a talk about intent.        And I'm

 25      not going to read my whole brief to you, your Honor, but I

 26      would please ask that you refer to our brief.            I think it was

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  1      specifically at page 9 and 10.        It talks about what the

  2      policy's stated intent was.        And you asked, your Honor, and it

  3      was brought up by the state.        What about some of the comments

  4      made by members of the public and about some of the comments

  5      made by members of the board of education?               And when you get

  6      into the social sciences, your Honor, which I trust that you

  7      will, you will see that there are evolving ways of describing

  8      what has sometimes been called gender dysphoria as a medical

  9      condition, and that's why child psychiatrists agree that having

 10      a supportive home environment and drawing those parents into

 11      the social transition is critical to the overall success of the

 12      child.     The main place that they might be doing that for

 13      8 hours a day plus extra curricular activities is at school.

 14      We need the parents to be involved in that.

 15               The equal protection claim, it is addressed.            It's really

 16      a derivative of their discrimination claims.               We've rebutted

 17      all of that in our documentation.         They talk about student

 18      consent was required; that's true.         It was based on faulty

 19      guidance from the state of California, which was not supported

 20      by law.     There will be a legislative fix as noted in our

 21      request for judicial notice.        Governor Newson said there needed

 22      to be a fix.     Leading experts on constitutional law states an

 23      unanswered question.      So when they have to establish likelihood

 24      of success on the merits, it's not the merits of the TRO that

 25      they have to establish the likelihood of success.               It's on

 26      either the OSC regarding the injunction or your full trial that

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  1      will happen with experts.        The likelihood of success is murky

  2      for this.     It is undecided under the law, and they're asking

  3      you to legislate from the bench and say children 4-and-a-half

  4      to 12 or 11, I'm going to follow the state law on counseling

  5      privilege and say parents have a right to notification.              And 12

  6      and up, that's confidential, and I'm not going to allow the

  7      parent notification.        I suggested that to your Honor because

  8      that's what's already in the law for the counseling privilege.

  9      They're asking you to do something similar or to say all

 10      students regardless of age, regardless of needs, including

 11      special needs, all students should be treated exactly the same

 12      because of their constitutional right to privacy.

 13            I had a couple more because I know you want to hear from

 14      me as much as possible.        It's why we shouldn't do ex-parte

 15      stuff on constitutional issues when you have a jury trial

 16      pending if I may.        Actually, your Honor, I think I may have

 17      addressed everything I intended to address.              Do you have any

 18      questions?

 19                  THE COURT:     There's always questions, Mr. De Marco.

 20      Without going down the philosophical road that is not going to

 21      be ultimately decided today, but as I mentioned, this is round

 22      one of a case that is going to ultimately need legislative

 23      guidance to help the Court.        And I have full expectation that

 24      there will be other courts reviewing whatever happens from

 25      either side, perhaps starting from today's ruling.              Based on

 26      what is before me at this time, and I appreciate the time and

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  1      the arguments from counsel.      It would be based on what I have

  2      before me presently that the purposes and the policy that's in

  3      question to the Court appear to be too broad and too general,

  4      and that there is really no stated clear purpose that has been

  5      addressed, that I'm aware of, other than a reference that all

  6      parties are in agreement, both sides.        They want parental

  7      support and parental involvement with the students.          That's not

  8      the issue.

  9             The concern is how do we safeguard these students that

 10      identify as LGBTQ, and in my view, it's a situation that is

 11      singling out a class of protected individuals differently than

 12      the rest of the students.     And whether it be, for example, just

 13      for if let's say a student were raised under one religion and

 14      then decides to change that religion on their own at whatever

 15      age.   You started at 4-and-a-half.      And I don't know that we

 16      have 4-and-a-half-year-olds thinking about those things, but

 17      when they are older and you referenced that there were adults,

 18      some over the age of 20.     And with that in mind, it's again

 19      whatever the class of protected umbrella students are.

 20      Students are students, and whatever makeup that they comprise,

 21      it strikes me that you are singling out a group that is exposed

 22      to a clear and present danger under Education Code Section

 23      49602 which is the exception where if we do have to alert the

 24      parents to protect the students for a medical issue for

 25      example, that by all means that must be done.          But here I do

 26      have the concerns I share with Mr. Tran that if you're going to

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  1      be doing conduct that is reacting to something that happens

  2      later after a student may have been harmed or after a student

  3      has not been ready, as Mr. Tran put it, to share with their

  4      parents their views and their identity that that exposes them

  5      again to potential harm.       Understanding there may be many

  6      loving and caring parents that don't care one way or the other

  7      as long as their students are healthy, happy, and doing well in

  8      school.     But that aside, unfortunately, that's not going to be

  9      the reality.     There will be parents that don't take kindly to

 10      those disclosers so out of an abundance of caution, I'm going

 11      to grant the TRO that the People have requested and set a

 12      hearing within 30 days, counsel, to again allow both sides to

 13      fully brief and provide the Court with further authority and

 14      hear whatever additional evidence counsel wishes to present to

 15      the Court.     Let me check with my staff to see where we are with

 16      a hearing on that.       Counsel, I'm going to especially set the

 17      matter for Friday October 13th, Friday the 13th.         For that

 18      hearing here in department S-27, counsel would be guided by our

 19      local rules with respect to the briefing, for any additional

 20      briefing counsel may wish to present.

 21                  MR. DE MARCO:    Would that include page limits, your

 22      Honor?

 23                  THE COURT:    Please don't ask for more page limits, Mr.

 24      De Marco.

 25                  MR. DE MARCO:    I'm not.

 26                  THE COURT:    Thank you.    Mr. Tran, Mr. Simpson, any

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  1      questions or comments?

  2                  MR. TRAN:    No, your Honor, thank you.

  3                  THE COURT:    All right.    Mr. De Marco, Mr. Diedrich

  4      anything further?

  5                  MR. DE MARCO:    Just a couple questions, your Honor,

  6      understanding that you'll issue a written restraining order, I

  7      would appreciate it if you would at least reflect on the

  8      district's opposition.       I know you haven't had a chance to read

  9      it yet.     If that changes anything, we're available to come

 10      back.

 11                  THE COURT:    With that thought in mind, while I will

 12      consider everything submitted by both parties, this is a

 13      temporary restraining order.        It's not final yet.

 14                  MR. DE MARCO:    Understood.

 15                  THE COURT:    We'll address those points as we move

 16      forward.

 17                  MR. DE MARCO:    Thank you for your time.

 18                  THE COURT:    All right.    Everyone please take care.

 19

 20                  (Hereto the foregoing proceedings were concluded for

 21      the day.)

 22

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  1                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
  2                        FOR THE COUNTY OF SAN BERNARDINO
  3      DEPARTMENT S-27                      HONORABLE THOMAS S. GARZA, JUDGE
  4      PEOPLE OF THE STATE OF                    )
         CALIFORNIA EX REL. ROB BONTA,             )
  5      ATTORNEY GENERAL OF THE STATE OF          )
         CALIFORNIA                                )   Reporter's Certificate
  6                                                )   Case No. CIVSB2317301
                      Plaintiff,                   )
  7                                                )
         -vs-                                      )
  8                                                )
         CHINO VALLEY UNIFIED SCHOOL               )
  9      DISTRICT,                                 )
                                                   )
 10                   Defendant.                   )
                                                   )
 11
 12      STATE OF CALIFORNIA            )
                                        )   ss.
 13      COUNTY OF SAN BERNARDINO       )
 14
 15             I, Charlona Quidor, Court Reporter of the
 16      of the State of California, do hereby certify under penalty of
 17      perjury that the foregoing pages 1 through 30, comprise a full,
 18      true, and correct transcript of the proceedings held in the
 19      above-entitled matter on Wednesday, September 6th, 2023.
 20             Dated this 11th day of September 2023.
 21
 22
 23
                                      <%30806,Signature%>
 24                                     Charlona Quidor, CSR No. 13426
                                        Court Reporter
 25
 26

                                                                     Page 32

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     1                                      CERTIFICATE OF SERVICE
     2           Elizabeth Mirabelli v. Mark Olson, President of the EUSD Board of Education, et al.
                                 USDC Court Case No.: 3:23-cv-00768-BEN-WVG
     3
     4          I, the undersigned, declare under penalty of perjury that I am over the age of eighteen years
         and not a party to this action; my business address is P.O. Box 9120, Rancho Santa Fe, California
     5
         92067, and that I served the following document(s):
     6
         •         Third Notice of Supplemental Authority in Support of Plaintiffs’ Motion for a
     7             Preliminary Injunction, and in Opposition to the Motions to Dismiss.
     8   on the interested parties in this action by placing a true copy in a sealed envelope, addressed as
         follows:
     9
    10   Thomas Prouty, Deputy General Counsel                  Daniel R. Shinoff, Esq.
         Len Garfinkel                                          Artiano Shinoff
    11   California Department of Education                     3636 Fourth Avenue, Suite 200
         1430 “N” Street, Suite 5319                            San Diego, CA 92103
         Sacramento, CA 95814                                   Tel: 619-232-3122
    12   Tel: 916-319-0860; Fax: 916-322-2549                   E-Mail: Dshinoff@as7law.com
         E-Mail: tprouty@cde.ca.gov                             E-Mail: nlay@as7law.com
    13   E-Mail: lgarfinkel@cde.ca.gov
         Attorneys for CDE Defendants                           Attorneys for EUSD Defendants
    14
                   (BY MAIL) I am "readily familiar" with the firm's practice of collection and processing
    15             correspondence for mailing. Under that practice it would be deposited with the U.S. Postal
                   Service on that same day with postage thereon fully prepaid at Rancho Santa Fe, California
    16             in the ordinary course of business. The envelope was sealed and placed for collection and
                   mailing on this date following our ordinary practices. I am aware that on motion of the party
    17             served, service is presumed invalid if postal cancellation date or postage meter date is more
                   than one day after date of deposit for mailing in affidavit.
    18
             X     (BY ELECTRONIC MAIL) I served a true copy, electronically on designated recipients
    19             via electronic transmission of said documents.
             X     (BY ELECTRONIC FILING/SERVICE) I caused such document(s) to be Electronically
    20             Filed and/or Service using the ECF/CM System for filing and transmittal of the above
                   documents to the above-referenced ECF/CM registrants.
    21
                  I declare under penalty of perjury, under the laws of the State of California, that the above
    22   is true and correct.
    23             Executed on September 11, 2023, at Rancho Santa Fe, California.
    24                                                   ______________________________
                                                         Kathy Denworth
    25
    26
    27
    28




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